
4 N.Y.2d 808 (1958)
Donald Betancourt, an Infant, by Michael Betancourt, His Guardian ad Litem, et al., Appellants,
v.
Harry Wilson, Respondent.
Court of Appeals of the State of New York.
Argued February 24, 1958.
Decided March 27, 1958.
Benjamin H. Siff and Julian A. Hertz for appellants.
William F. McNulty and Frederick Mellor for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD and FROESSEL. Judges VAN VOORHIS and BURKE dissent and vote to affirm upon the Per Curiam opinion in the Appellate Division.
Judgment reversed and a new trial granted as to each plaintiff, with costs to abide the event, upon the ground that this record presented questions of fact for a jury as to negligence and contributory negligence. No opinion.
